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                         United States District Court
                          Middle District of Florida

Colby-Alexander: Frank
                                         Civil Case No: 6:23-cv-2043-PGB-RMN
      Plaintiff

         V.

Randy Fine

      Defendant




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              Plaintiff is under the belief that stating his causes satisfied the orders
to amend and that this amended complaint satisfies the orders to amend and brings
forth the following causes of action and alleges the following:




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                                 JURISDICTION

             This is a civil action seeking relief and/or compensation for damages to defend
      and protect the rights guaranteed by the Constitution of the United States against criminal
      harassment.    This action is brought pursuant to 42 U.S.C 1983.           The Court has
      jurisdiction over this action pursuant to 28 U.S.C 1331, 1343(3), 2201, and 1443.




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       PLAINTIFF IS PRO-SE AND DEMANDS THAT THIS
         COURT REMAINS FOCUSED SOLELY ON THE
            LAWS AT HAND AND REQUEST FULL
           CONSIDERATION WITH REGARDS TO
        PROCEDURE, FORMATTING, ETIQUETTE, ETC.

        NO COUNSEL WILL TOUCH THIS CASE DUE TO
          THE POLITICAL NATURE OF THE FACTS.

       FURTHERMORE, PLAINTIFF DOES NOT BELIEVE
       THAT ANY BAR COUNSEL WILL MOVE HIS CASE
        IN A POSITIVE DIRECTION WITH PLAINTIFF’S
                 BEST INTERESTS IN MIND.

See:
   1) Elmore v. McCammon (1986) 640 F. Supp. 905
   2) Haines v. Kerner, 404 U.S. 519, 92 S. Ct. 594 (1972)
   3) Jenkins v. McKeithen, 286 F. Supp. 537 (E.D. La. 1968)
   4) Picking v. Pennsylvania R. Co., 151 F.2d 240 (3d Cir. 1945)
   5) Puckett v. Cox, 456 F.2d 233 (6th Cir. 1972)




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                                       PARTIES
      Plaintiff:

Colby-Alexander: Frank, Man
PO Box 13264,
Fort Pierce, Fl
34979
941-275-5712

      Witnesses:

Brian Hulliger, Friend
Giovanni Lorenzo, Friend
Maritza, Marriott Employee
Amber Jo Cooper, Florida’s Voice
Ron Filipkowski, Media Touch Network
Eric Rogers, Florida Today
Esther Bower, Fox35 Orlando
Yael Herschfeld (ADL South Florida)
Kerry Takacs
Volusia County Sheriff Mike Chitwood


      Defendants:

Randy Fine




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             STATUTES/CODES THAT HAVE BEEN
          BROKEN BY CIVIL SERVANTS, AGENTS,
       AGENCIES, ETC, OR HAVE PROBABLE CAUSE TO
                   BE INVESTIGATED
FS836.05 Threats; extortion.
FS836.09 Communicating libelous matter to newspapers; penalty.
FS836.115 Cyberintimidation by publication.
FS112.311 Legislative intent and declaration of policy.
FS112.3213
FS112.313 Standards of conduct for public officers, employees of agencies, and local
government attorneys. Section 6, Section 9(a)1
FS365.172 Emergency communications number “E911.”
FS838.016 Unlawful compensation or reward for official behavior.
FS838.15 Commercial bribe receiving.
FS838.16 Commercial bribery.


18 U.S. Code § 241 - Conspiracy against rights
18 U.S. Code § 245 - Federally protected activities
18 U.S. Code § 247 - Damage to religious property; obstruction of persons in the free exercise of
religious beliefs
18 U.S. Code § 201 - Bribery of public officials and witnesses
18 U.S. Code § 203 - Compensation to Members of Congress, officers, and others in matters
affecting the Government
18 U.S. Code § 1968 - Civil investigative demand

28 U.S. Code § 4101 - Definitions




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                           Affidavit of Criminal Complaint

   1) On the morning of 10/4/2023, Plaintiff approached Defendant Fine on his way to a public
      speaking event with a gopro camera in one of his hands and a stapled packet of
      political/religious literature in his other hand with intent to debate and discuss Plaintiff’s
      political/religious literature and the drafting and signage of HB269 in Israel.
   2) Upon rounding a parking lot corner where his view was obstructed by cars, Plaintiff said
      “Is that Randy Fine? Mr. Fine?”
   3) Defendant Fine then asked “who are you?”
   4) Plaintiff answered, “Colby Frank, Goyim Defense League.”
   5) Plaintiff began to question or invite Defendant Fine to a political debate or to schedule
      such debate regarding literature and the entirety of the public literature campaign around
      jewish political involvement in multiple progressive political theaters.
   6) Defendant Fine scoffed and called Plaintiff “scum, nazi,” and other derogatory names.
      Defendant Fine said “you’re lucky I don’t punch you in the fucking face.” Defendant
      Fine also said that antisemitism could never be defeated with “assholes like you
      [plaintiff] in our state.”
   7) More back and forth was said, ending with Defendant Fine saying “you’re beneath me.”
   8) Plaintiff and his friends then completely left the event facility for almost 2 hours.
   9) Defendant Fine proceeded to tell his supporters that Plaintiff assaulted him. (Packet A)
   10) Defendant Fine decided to communicate libelous and slanderous materials on X
      (formerly twitter) about Plaintiff, calling him a Nazi and using the term “jumped,” to
      describe approaching him with a gopro camera for questions or to schedule a debate. On
      his twitter tirade Defendant Fine also said this would not be one of Plaintiff’s better days.
      Defendant Fine decided to share Plaintiff’s picture, clearly showing his face on X and to
      multiple news agencies. Defendant Fine said he wants to legalize punching nazis.
      (Packet B)
   11) As Defendant Fine’s event was concluding, Plaintiff and a few friends went to the
      entrance/exit to the facility that Defendant Fine and his political supporters were leaving
      with political signage to spread awareness.




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   12) Plaintiff’s friend Giovanni Lorenzeo received information from a supporter of Defendant
      Fine that someone alleged we had “stormed a meeting.” We never once entered the
      premises and this is completely and openly false. (Packet A)
   13) Defendant Fine has a long history of calling for threats and violence against his political
      opposition. In a press release it was confirmed that Defendant Fine posted to Facebook
      “Kyle should shoot these assholes,” referring to a political banner pointing out that the
      three men shot in self defense by Kyle Rittenhouse happened to be jewish. (Attachment
      C)
   14) Defendant Fine has a long history of conspiring with other political agents and agencies
      against protected free speech activities as well as abusing his position as a legislative
      representative to attack the voice of other political positions. (Packet D)




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           PLAINTIFF DEMANDS TRIAL BY JURY




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                          CAUSES OF ACTION/TORTS

       1. Intentional Destruction of Character. Plaintiff has shown this Court the
 criminal and malicious tweets and statements to the media coming from Defendant
 Fine about Plaintiff. Plaintiff is scheduled to graduate with his degree in aerospace
 engineering on December 15, 2023.           The U.S. Borough of Labor Statistics
 documents that the median annual pay for aerospace engineers in 2022 was
 $126,880. Defendant Fine is the State Representative from the area called the
 “space coast,” and it is not unreasonable that Defendant Fine’s destructive remarks
 will cause great harm to Plaintiff’s career opportunities.           Furthermore, an
 extremely large sector of the aerospace industry is contracted for defense purposes.
 To be called a Nazi publicly, by a public official, could greatly affect Plaintiff’s
 opportunities for necessary security clearances to work within those sectors of the
 industry that require them. Also, it is no secret that a large portion of the aerospace
 industry that is contracted for defense has a stake in Israel, and is heavily lobbied
 by Israel. Plaintiff has invested heavily in his aerospace engineering education,
 amassing an estimated amount of student loan debt repaid over 120 months to be
 $82,395.60. According to glassdoor.com the average annual pay for an aerospace
 engineer with 0-1 years of experience ranges from $72,000 to $126,000. Even by
 the most conservative of estimates if Plaintiff is delayed from beginning his new
 career path by just 1 year due to Defendant Fine’s remarks it would cost Plaintiff
 $72,000 in unpaid wages as well as $8,239.56 in unpaid student loan debt which
 would be accruing additional interest on the principal. At the median salary of
 $126,880 a 20-year career in the aerospace industry is worth $2,537,600.
 Defendant Fine’s remarks are derogatory and false, both verbally and written,
 made with malice and criminal intent to cause damages by the Defendant causing



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 future losses and injury to Plaintiff’s professional reputation. Facts numbered 9,
 10, and 12 of the original complaint, and the corresponding evidence packets all
 relate to this cause.   For this cause Plaintiff is seeking a compensatory damage
 total of $1,000,000 for damages to professional reputation. Plaintiff also seeks an
 order from this Court to force a public apology.


       2. Intentionally Induced Emotional Distress. For Defendant Fine making
 threats and conspiring against Rights secured by the Constitution of the United
 States and the Constitution of the State of Florida, Plaintiff is seeking an additional
 $1,000,000 in both compensatory and punitive damages. Defendant Fine told the
 media orally he would introduce legislation to legalize punching a Nazi. He also
 tweeted that the day would not be one of his [Plaintiff’s] days. Facts number 6 and
 13 and the corresponding evidence relate to this cause against Defendant Fine.
 Fact number 14 and the corresponding evidence also provides cause for this
 distress. By his own account Defendant Fine has been proud of his conspiring to
 deprive Plaintiff and Plaintiff’s friends of our First, Fourth, Sixth, Eighth, and
 Fourteenth Amendment rights.        For no other reason than his political beliefs,
 Plaintiff is now in grave danger with certain Sheriffs eager to arrest him for
 exercising Constitutional rights. Due to his actions Defendant Fine has personally
 overseen and managed an assault on the First Amendment never before seen in this
 country. Plaintiff now has genuine fear for his safety while exercising his First
 Amendment rights, within the opinion of supporting Supreme Court caselaw, see
 Schneider v. State, 308 U.S. 147 (1939), facing years of false imprisonment for the
 act of distributing political and religious fliers to people’s homes that Defendant
 Fine deems to be “hate litter.”      See STATE OF FLORIDA V. JON EUGENE
 MINADEO, Palm Beach County. To weaponize the law as a privilege for some
 and a prejudice for others is completely outside of the spirit of the law and brings

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 into question the law’s authority and enforceability. Maxims of law as well as the
 Fourteenth Amendment demand equal protection under the law. HB269 clearly
 violates the free speech rights of Floridians.



       3. Breach of Contract. Every public official must swear an Oath of Office

 contracting to support and defend the Constitution of the United States. Public

 officials also remain trustees to the public, fiduciaries. Defendant Fine is in clear

 violation of his Oath, not only by negligence but also by intention. Meeting

 multiple state officials and agents to discuss and lobby for legislation that clearly

 infringes upon the right to publish and circulate ideas is a breach of his contractual

 Oath of Office. Courts have found that violations of Constitutionally protected

 rights can by themselves be a cause of action, “In Bell v. Hood, 327 U.S. 678

 (1946), we reserved the question whether violation of that command by a federal

 agent acting under color of his authority gives rise to a cause of action for damages

 consequent upon his unconstitutional conduct. Today we hold that it does.” Bivens

 v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388, 389 (1971) While Defendant

 Fine is a State employee and not Federal, the question here is not as to whether his

 designation demands that this Court hear the case or the State Court hears the case,

 the question here is whether or not a violation of Constitutional rights brings forth

 a cause of action. It is abundantly clear that Defendant Fine is unfit for civil

 service.


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                                  PRAYER FOR RELIEF

        Plaintiff is requesting this court award him compensatory and punitive damages in an

 amount of $2,000,000 from the defendant. It is the unfortunate reality that in today’s political

 climate, to be accused of “jumping,” a political adversary could have extremely serious

 consequences including severe bodily harm or death, especially when Plaintiff is a White civil

 rights advocate. To be claimed to have a pending felony against Plaintiff could also have insane

 consequences. Plaintiff now has irreparable damage to character which will undoubtedly affect

 his employment opportunities within the aerospace industry. Plaintiff will now have a much

 harder time securing employment within the prestigious aerospace industry. Plaintiff’s face has

 been spread across news agencies without Plaintiff’s consent after Plaintiff’s pictures were taken

 on private property.


        Plaintiff also demands a writ of quo warranto for Defendant Fine. Plaintiff also demands

 a public apology and recession be made.


        Furthermore, the State of Florida seems to have passed a clearly unconstitutional bill

 titled, House Bill 269.    Plaintiff requests this honorable court to strike this bill down as

 unenforceable due to its constitutional violations. Plaintiff is also seeking a writ of injunction

 against any and all police agencies attempting to persecute plaintiff for these literature

 distributions and a writ of quo warranto against Randy Fine.




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